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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    JONY PANTALEON,                                    No. 2:24-cv-1649 DB P
12                        Petitioner,
13            v.                                         ORDER
14    TRISTAN LEMON,
15                        Respondent.
16

17           Petitioner, a state prisoner proceeding pro se, has filed an application for a writ of habeas

18   corpus pursuant to 28 U.S.C. § 2254. Petitioner has not, however, filed an in forma pauperis

19   affidavit or paid the required filing fee ($5.00). See 28 U.S.C. §§ 1914(a); 1915(a). Petitioner

20   will be provided the opportunity to either submit the appropriate affidavit in support of a request

21   to proceed in forma pauperis or submit the appropriate filing fee.

22           In accordance with the above, IT IS HEREBY ORDERED that:

23           1. Petitioner shall submit, within thirty days from the date of this order, an affidavit in

24   support of his request to proceed in forma pauperis or the appropriate filing fee; petitioner’s

25   failure to comply with this order will result in a recommendation that this action be dismissed;

26   and

27   /////

28   /////
                                                         1
       Case 2:24-cv-01649-KJM-DB Document 4 Filed 06/14/24 Page 2 of 2


 1             2. The Clerk of the Court is directed to send petitioner a copy of the in forma pauperis

 2   form used by this district.

 3   Dated: June 14, 2024

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